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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT ()F OKLAHOMA

RC\BERT L, HALL, )
)
Petitioner, )

vs. ) NO. CIV~O5-1452~HE
)
OK LAHOMA CRIMINAL COURT )
OF APPEALS, STATE OF )
OK LAHOMA )
)
Respondents. )

ORDER

Petitioner Robert L. Hall filed a pleading entitled “l\/lotion for Relief from the
Judgment.” The motion, With its multiple attachments, names the ()l<lahoma Criminal Court
of Appeals and the State of Oklahoma as respondents Consistent With 28 U.S.C.
§636(b)(l)(]3), the matter Was referred for initial proceedings to Magistrate Judge Bana
Rob erts, Who recommends in her Report and Recommendation that the action be dismissed
for lack of subject matter jurisdiction

The court agrees With the magistrate judge that the petitioner has failed to allege a
basis for jurisdiction in his motion and that the court does not have appellate jurisdiction over
the (j)klahoma courts or authority to issue a Writ of mandamus directing state courts to actl
The petitioner, having failed to object to the Report and Recommendation, also Waived his
right to appellate review of the factual and legal issues it addressed United States v. One
f_’aL:_el ofReal Property, 73 F.3d 1057, 1059-60 (lOth Cir. 1996), cert denied, 519 U.S. 909
(1996). See 28 U.S.C, § 636(b)(l)(C); LCvR72.l(a).

Accordingly, the court adopts l\/lagistrate Judge Roberts ’ Report and Recommendation

and dismisses this action for lack of jurisdiction

 

1111 his motion the petitioner asks the court to order the Graa’y Coimty District Coart and/or
the Uklahoma Coart of Criminal Appeals to take certain action.

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IT ls so oRDERED this ljlb day OfF@bruary, 2006.

 
   

 

JG`E HE TON
ITE \ STATES DlSTRlCT JUDGE

